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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

LIZETTE RODRIGUEZ,                               §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §        CIVIL ACTION NO.
                                                                                  ----
                                                 §
ALLSTATE FIRE AND CASUALTY                       §
INSURANCE COMPANY,                               §
                                                 §
       Defendant.                                §


     DEFENDANT ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY'S
                       NOTICE OF REMOVAL


TO THE HONORABLE COURT:

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Allstate Fire and Casualty Insurance

Company in Cause No. 2017DCV0978, pending in the 448th Judicial District Court of El Paso

County, Texas, files this Notice of Removal from that court to the United States District Court for

the Western District of Texas, El Paso Division, on the basis of diversity of citizenship and amount

in controversy and respectfully shows:

                                                 I.
                                  FACTUAL BACKGROUND

       1.1     On or about March 23, 2017, Plaintiff filed Plaintiff's Original Petition in the matter

styled Lizette Rodriguez v. Allstate Fire and Casualty Insurance Company, Cause No.

2017DCV0978, pending in the 448th Judicial District Court of El Paso County, Texas, in which

Plaintiff made a claim for damages to her horne under a homeowner's insurance policy with

Allstate Fire and Casualty Insurance Company.




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       1.2     Plaintiff served Defendant Allstate Fire and Casualty Insurance Company

("Allstate") with Plaintiffs Original Petition and process on June 26, 2017, by certified mail on

its registered agent, CT Corporation System.

       1.3     Simultaneously with the filing of this notice of removal, all pleadings, process,

orders, and other filings in the state court action are attached to this Notice as required by 28

U.S.C. § 1446(a). Attached hereto as Exhibit "A" is the Index of State Court Documents that

clearly identifies each document and indicates the date the document was filed in state court.

Attached as Exhibit "B" is a copy of the docket listing and all documents filed in the state court

action are attached as Exhibits "B-1" through Exhibit "B-8" as identified on the Index of State

Court Documents.

                                            II.
                                    BASIS FOR REMOVAL

       2.1     Defendant files this notice of removal within 30 days of receiving Plaintiffs

Original Petition. See 28 U.S.C. §1446(b). This Notice of Removal is being filed within one

year of the commencement of this action. See id.

       2.2     Removal is proper based upon diversity of citizenship under 28 U.S.C.

§§ 1332(a)(1), 1441(a), and 1446.

       A.      THE PARTIES ARE OF DIVERSE CITIZENSHIP.

       2.3     Plaintiff is, and was at the time the lawsuit was filed, a natural person and a

resident of El Paso County in the State of Texas and thus, is a citizen of Texas. See Plaintiffs

Original Petition, § II. On information and belief, Plaintiff intends to continue residing in Texas

and is thus domiciled in Texas. See Hollinger v. Home State Mut. Ins. Co., 654 F.3d 564, 571

(5th Cir. 2011) (evidence of a person's place of residence is prima facie proof of his state of

domicile, which presumptively continues unless rebutted with sufficient evidence of change).


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        2.4      Defendant Allstate Fire and Casualty Insurance Company is an Illinois corporation

with its principal place of business in Illinois and is a citizen of the State of Illinois for diversity

purposes, and therefore, complete diversity exists.

        B.       THE AMOUNT IN CONTROVERSY EXCEEDS THE JURISDICTIONAL
                 REQUIREMENTS FOR SUBJECT MATTER JURISDICTION.

        2.5      In determining the amount in controversy, the court may consider "policy limits ...

penalties, statutory damages, and punitive damages."            St. Paul Reinsurance Co., Ltd. v.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998); see Ray v. State Farm Lloyds, No. CIV.A.3:98-

CV-1288-G, 1999 WL 151667, at* 2-3 (N.D. Tex. Mar. 10, 1999) (finding a sufficient amount

in controversy in plaintiffs case against their insurance company for breach of contract, fraud,

negligence, gross negligence, bad faith, violations of the Texas Insurance Code, violations of the

Texas Deceptive Trade Practices Act, and mental anguish); Fairmont Travel, Inc. v. GeorgeS.

May Int'l Co., 75 F. Supp.2d 666, 668 (S.D. Tex. 1999) (considering DTPA claims and the

potential for recovery of punitive damages for the amount in controversy determination); Chittick

v. Farmers Ins. Exch., 844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient amount in

controversy after considering the nature of the claims, the types of damages sought and the

presumed net worth of the defendant in a claim brought by the insureds against their insurance

company for actual and punitive damages arising from a claim they made for roof damages).

        2.6      This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiff alleges that Defendant is liable under a residential insurance policy because Plaintiff

made a claim under that policy and Defendant wrongfully adjusted and denied Plaintiffs claim.

        2. 7     Plaintiff has specifically pled that she is seeking monetary relief over $100,000,

but not more than $200,000. See Plaintiffs Original Petition, § XI. This evidence clearly

demonstrates that the amount in controversy in this case exceeds the jurisdictional requirements.


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                                                  III.
                      THEREMOVALISPROCEDURALLYCORRECT
        3.1      Defendant Allstate was first served with Plaintiffs Original Petition and process

on June 26, 2017. This notice of removal is filed within the 30-day time period required by 28

U.S.C. § 1446(b).

        3.2      Venue is proper in this District and Division under 28 U.S.C. §1446(a) because

this District and Division include the county in which the state action has been pending and

because a substantial part of the events giving rise to Plaintiffs claims allegedly occurred in this

District and Division.

        3.3      Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice.

        3.4      Pursuant to 28 U.S.C. §1446(d), promptly after Defendant files this Notice,

written notice of the filing will be given to Plaintiff, the adverse party.

        3.5      Pursuant to 28 U.S.C. §1446(d), a true and correct copy ofthis Notice of Removal

will be filed with the Clerk of the El Paso County District Court, promptly after Defendant files

this Notice.

                                               IV.
                                           CONCLUSION
        4.1      Based upon the foregoing, the exhibits submitted in support of this Removal and

other documents filed contemporaneously with this Notice of Removal and fully incorporated

herein by reference, Defendant Allstate Fire and Casualty Insurance Company hereby removes

this case to this Court for trial and determination.




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                                          Respectfully submitted,

                                          Is/ Brandt R. Johnson
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                                          ATTORNEYS FOR DEFENDANT
                                          ALLSTATE FIRE AND CASUALTY INSURANCE
                                          COMPANY

                                 CERTIFICATE OF SERVICE

       This is to certify that on July 26, 2017, a copy of this document was served to all Counsel of
Record via electronic notice and/or certified mail, return receipt requested to:

               Amy C. Gurecky
               amy.gurecky@krwlawyers.com

               KETTERMAN ROWLAND & WESTLUND
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                                          Is/ Brandt R. Johnson
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